               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

                           GAINESVILLE DIVISION

ACACIA WILLIAMS, DREAM
DEFENDERS, NEW FLORIDA
MAJORITY, ORGANIZE FLORIDA,
RAY WINTERS, KATHLEEN
WINTERS, and BIANCA MARIA                        Case No. 1:20-cv-67-RH- GRJ
BAEZ

       Plaintiffs,

              v.

RON DESANTIS, in his official
capacity as Governor of the State of
Florida, LAUREL M. LEE, in her
official capacity as Florida Secretary of
State, and FLORIDA ELECTIONS
CANVASSING COMMISSION,

       Defendants.


                     PLAINTIFFS’ RENEWED MOTION FOR A
                      TEMPORARY RESTRAINING ORDER

      In the Order denying Plaintiffs’ motion for a temporary restraining order, this

court indicated that the impact of the coronavirus on today’s election may yet

“support a claim for relief affecting this primary.” (ECF No. 12.) The evidence from

around the state, as reflected in the attached declarations of Rose Marie Barfield,

Murray Heller, Cierra Medina, Jessica Alcocer, Carolyn Thompson, and Marina
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Golan-Vilella, demonstrates that the relief Plaintiffs seek in this litigation remains

urgent and necessary to ensure the election reflects the will of all Floridians who

want to participate. Accordingly, pursuant to Federal Rule of Civil Procedure 65(a)

and (b), Plaintiffs respectfully renew their request that this Court issue a temporary

restraining order and a preliminary injunction enjoining Defendants DeSantis, Lee,

and the Florida Elections Canvassing Commission, to take whatever steps are

necessary to permit Floridians unable to vote at the polls today to request and return

a vote-by-mail ballot during the period immediately following today’s election.

Specifically, with respect to vote-by-mail balloting,1 Plaintiffs request the same

relief as they sought in the TRO filed on March 16, 2020 (ECF No. 4), as follows:

    (1) Extend deadlines for requesting and returning vote-by-mail ballots.

           a. Extend the deadline to request a vote-by-mail ballot from 10 days

               before the election to March 24, 2020. Although this deadline is after

               Election Day, it is before the date through which counties will be

               counting military and overseas voters’ ballots (March 27), and such an

               extension is necessary to make access to vote-by-mail under these

               emergency circumstances meaningful.




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 Plaintiffs no longer seek curbside voting, which is applicable only in the context
of election day polling procedures. For the same reason, Plaintiffs no longer seek
public service announcements and other information about polling place changes.
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      b. Accept returned vote-by-mail ballots and count them as long as they are

         postmarked by March 24, 2020, or later and are received by March 27,

         2020, the existing deadline for receipt of ballots cast by military and

         overseas voters.

(2) Expand vote-by-mail options.

      a. Waive the requirement that any individual complete an Election Day

         Vote-by-Mail Ballot Delivery Affidavit as a condition of obtaining a

         vote-by-mail ballot. The present state of emergency establishes every

         voter’s eligibility to obtain their vote-by-mail ballot on or after Election

         Day.

      b. Allow all voters to request that their ballot be sent to them via e-mail or

         fax, an option currently available only to military and overseas voters.

      c. Provide drop-boxes for the return of vote-by-mail ballots at polling

         sites, and accept ballots returned via drop-boxes regardless of which

         precinct or county they are returned to.

      d. Allow voters to designate other individuals to return their ballots in

         person, by mail, or via drop-boxes, and waive the current limit of two

         ballots per designee. Currently, designees may collect and return ballots

         only for two voters other than themselves and may only return them in

         person or by mail.


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  (3) Communicate critical information to Florida voters.

         a. Develop state-wide public service announcements to be transmitted via

             print, radio, and social media to alert Floridians to the expanded

             opportunities to vote.

      This motion is based on Plaintiffs Complaint (ECF No. 1) and the declarations

of Rose Marie Barfield, Murray Heller, Cierra Medina, Jessica Alcocer, Carolyn

Thompson, and Marina Golan-Vilella, attached hereto. Plaintiffs also incorporate by

reference their Memorandum of Law in support of their Motion for a Temporary

Restraining Order and Preliminary Injunction dated March 16, 2020 (ECF No. 4),

and the declarations attached thereto.

      Plaintiffs respectfully request that this matter be set for telephonic oral

argument on an expedited basis.

Dated: March 17, 2020                    Respectfully submitted,
                                         By:   /s/ Kira Romero-Craft
                                               Kira Romero-Craft

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CANVASSING COMMISSION,

       Defendants.


        PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT
     OF RENEWED MOTION FOR A TEMPORARY RESTRAINING
            ORDER AND PRELIMINARY INJUNCTION

      The United States is facing a pubic health emergency created by the COVID-

19 virus, which has threated the health and well-being of millions of Americans,

shuttered schools and businesses, and led public health officials to recommend that

Americans remain at home and avoid public gatherings. But today, the State of

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Florida conducted its Presidential Preference Primary (“PPP”) without making any

accommodation for those impacted by the current public health crisis. As a result,

without emergency relief ordered by this Court, Plaintiffs will be entirely deprived

of the opportunity to vote in the Presidential Preference Primary, in violation of their

rights under the First and Fourteenth Amendments to the United States Constitution.

                           FACTUAL BACKGROUND
      Most of the facts relevant to this motion are set forth in Plaintiffs’ original

Motion for a Temporary Restraining order and are incorporated here by reference.

Below, Plaintiffs set forth new facts that have come to light today during the course

of voting in an election in which no accommodations were made to address the

impact of the coronavirus pandemic.

 I.   The March 17, 2020, Presidential Preference Primary.
      As election day began, Supervisors of Elections around the state faced

shortages of poll-workers after many withdrew or failed to show up at their assigned

polling sites. E.g., “The Latest: DNC chair urges vote-by-mail in primary states,”

Associated Press (Mar. 17, 2020) (noting that in Palm Beach County, 800 poll-

workers had withdrawn as of Monday, March 16, 2020), available at

https://wgem.com/2020/03/17/the-latest-florida-polls-open-in-presidential-

primary/. For example, in Okeechobee, Florida, one individual, a seventy-three-

year-old voter with chronic health conditions, withdrew from her planned work as a


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poll worker out of concern that being around other people in this time of coronavirus

would put her health at too high a risk. Declaration of Rose Marie Barfield, ¶¶ 2-4.

      The evidence so far is that turnout in today’s election will be low, despite

record numbers of voters who voted early and by mail. Carolyn Thompson, a long-

time voter protection advocate who visited multiple polling precincts in Broward

County today, observed low voter turnout in at least six of these polling locations.

Decl. of Carolyn Thompson, ¶¶ 3, 6-7. In previous PPP elections, Ms. Thompson

observed “fifty to one hundred” people in line at these same sites. Id. ¶ 7. Today,

there was a trickle of “only one or two voters” in the 30 minutes she spent observing

each polling location. Id. ¶ 6.

II.   Existing Emergency Balloting Procedures Failed to Enable Many to
      Floridians to Vote.

      Despite the difficulties experienced at polling places, Supervisors of Elections

were making no exceptions to the rules for obtaining emergency vote-by-mail ballots

that voters can complete at home and return by the close of polling. Under normal

circumstances, such ballots are available on election day only to voters experiencing

an emergency that keeps them from voting at their assigned polling places. The

process is cumbersome, requiring the voter to complete an affidavit explaining the

emergency as well as, often, a vote-by-mail ballot request form. If the voter wishes

to send someone else to pick up the ballot, the voter and the designee must both sign

a separate form making the designation. Although the entire nation is facing an

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emergency that has resulted in many people being advised to stay away from public

gatherings, Defendants failed to authorize supervisors to relax these requirements in

any way, and calls to several supervisors indicated most were continuing to strictly

comply with these procedures. Declaration of Marina Golan-Vilella, ¶¶ 5-14. One

county even imposed its own heightened requirements, demanding a doctor’s note

corroborating the voter’s emergency, and that requirement remained in effect today.

See Miami-Dade County Ordinances, § 12-14(b). In at least one case, a supervisor

was not permitting any voters to obtain vote-by-mail ballots, even if they were

willing and able to comply with the requirements. Golan-Vilella Decl. ¶ 5. In another

case, apparent confusion over the requirements lead to an individual seeking to

obtain a ballot for her grandmother having to make multiple tripsto the supervisor’s

office, taking a total of four hours to obtain all of the required forms,. Declaration of

Jessica Alcocer, ¶¶ 6-9.

III.   Defendants’ Failure to Expand Voting Opportunities Prevented Many
       Floridians From Participating.

       In addition to the Plaintiffs and their members, whose obstacles to voting are

set forth in Plaintiffs’ original Emergency Motion for a Temporary Restraining

Order and Preliminary Injunction (ECF No. 4), and the declarations attached there

to, many other Florida voters were unable to vote due to Defendants’ failure to

extend the vote-by-mail deadline or offer other accommodations. For example, Rose

Marie Barfield, a seventy-three year old resident of Okeechobee County, with

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diabetes and high blood pressure, wanted to vote early in person last Friday, March

13, 2020. However, due to the public news about the unsafety of COVD-19

contagion, she decided it would be too great a risk to her health to work the polls or

go in for early voting. She also did not vote this Tuesday primary for the same

reasons. She would have voted by mail if it had been possible. Declaration of Rose

Marie Barfield.

      Likewise, Murray Heller is an eighty-six year old voter who did not vote today

because he is afraid to leave his home in Delray Beach, Florida, during the COVID-

19 public health crisis. Mr. Heller would have voted in person at his local polling

station today if there were no public health emergency. He has found news reports

of the spike in cases, and the higher risk of severe and even fatal outcomes for elderly

persons who contract COVID-19 to be “pretty frightening.” Mr. Heller would vote

in Florida’s Presidential Primary Election if he could request and submit a mail

ballot. Declaration of Murray Heller.

      Cierra Medina, a thirty-year-old resident of Broward County, and a pregnant

mother with two toddlers to care for, stated that before the COVID-19 public health

crisis, she planned to go in person to her local polling site to cast her ballot. Medina

Decl. ¶ 2. As a result of the public health emergency caused by COVID-19

contagion, fearing for her health, and that of her unborn child and two toddlers who

are at home with her because their school has been canceled, Ms. Medina did not


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vote in person today in Broward County. Medina Decl. ¶¶ 5-8. She would have voted

by mail if that had been an option. Medina Decl. ¶¶ 9-10.

      The stories of Plaintiffs, their members, and these other voters is typical of the

experience of voters throughout the State.2

                               LEGAL STANDARD

      Plaintiffs seek a Temporary Restraining Order (“TRO”) and a Preliminary

Injunction (“PI”) pursuant to Federal Rule of Civil Procedure 65 (a) and (b), to

enjoin defendants to ensure that all eligible Florida electors whether they be

mandatorily quarantined, self-quarantined, self-distancing, displaced by the

pandemic or otherwise prevented from casting a regular ballot on election day by

the novel corona virus, COVID-19, and who desire to vote in the primary preference

primary election in Florida are able to cast a ballot that counts.

      To prevail on a motion for a TRO and PI, a movant must establish: (1) a

substantial likelihood of success on the merits; (2) that the movant will suffer

irreparable injury in the absence of the requested injunctive relief; (3) that the

threatened harm outweighs the harm that the nonmovant would suffer if the



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 See, e.g., WESH2, “Complete 2020 Florida presidential primary election results”
(Mar. 17, 2020) (“Jonathan Castoire, a Broward County telecommunications
engineer, said it was too dangerous for him to vote, because he has multiple
sclerosis and his voting station is in a senior center. Castoire said he tried calling
elections officials for help, but got nowhere, leaving him feeling like he has been
given ‘an ultimatum’ to choose between his health and his right to vote.”)
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injunctive relief is issued; and (4) that the injunctive relief would not be adverse to

the public interest. See Winter v. Natural Resources Defense Council, Inc., 555 U.S.

7, 20 (2008) (setting out the standard for a preliminary injunction); Windsor v.

United States, No. 09-13998, 2010 WL 1999138, at *4 (11th Cir. May 10, 2010)

(noting that the standard for a temporary restraining order is identical to the standard

for a preliminary injunction). “The purpose of a preliminary injunction is to prevent

irreparable injury so as to preserve the court’s ability to render a meaningful decision

on the merits.” United States v. Alabama, 791 F.2d 1450, 1459 (11th Cir. 1986)

(affirming grant of a preliminary injunction).

                                    ARGUMENT

      As laid out in more detail in Plaintiffs’ original Motion for an Emergency

Temporary Restraining Order and Preliminary Injunction, and as briefly reiterated

below, Plaintiffs are entitled to a temporary restraining order mandating the

additional voting opportunities sought in this motion. Plaintiffs are likely to prevail

on the merits as Florida’s statutory scheme has totally denied many voters the

opportunity to cast a ballot in the PPP and put others in the untenable position of

choosing between their own or their family’s health and well-being and exercising

their fundamental right to vote.

      The Plaintiffs and the other Floridians who have submitted declarations in

support of this motion could not and did not predict the COVID-19 pandemic.


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Neither did the poll workers who did not show up today or polling sites that

ultimately closed in accordance with federal guidance against gatherings of more 10

people. Now, with the election over and the deadline to apply for and cast a vote-by-

mail ballot long past, these voters will be wholly deprived of their right to vote

without intervention by this court. Under this court’s precedent, as well as the

precedent of other courts in the Eleventh Circuit in analogous situations, this severe

burden on the right to vote cannot be countenanced under our constitutional system.

See Georgia Coalition for the Peoples’ Agenda v. Deal, 214 F.Supp.3d 1344 (S.D.

Ga. 2016) (granting emergency preliminary injunction extending voter registration

deadline for one week where state officials’ failure to extend deadline, despite

mandatory evacuations imposed due to hurricane, violated plaintiffs First and

Fourteenth Amendments); Florida Democratic Party v. Scott, 215 F. Supp. 3d. 1250,

1257 (N.D. Fla. 2016) (finding that Florida’s statutory voter registration deadline,

which permitted no change in the deadline in the event of emergency, “completely

disenfranchises thousands of voters, and amounts to a severe burden on the right to

vote.”).

      The total denial of a meaningful opportunity to cast a ballot in the PPP

constitutes irreparable injury that cannot be remedied absent action by this Court—

action that the Court can and has exercised in past states of emergency. As this Court

said in another emergency impacting an election “[o]f course, the State of Florida


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has the ability to set its own deadlines and has an interest in maintaining those

deadlines . . . [b]ut it would be nonsensical to prioritize those deadlines over the right

to vote, especially given the circumstances here.” 215 F. Supp. 3d at 1258.

      With the end of in-person voting in today’s PPP, any burden on the State in

extending the vote-by-mail deadlines and relaxing the other vote-by-mail

requirements will be slight, especially compared to the total deprivation of the right

to vote faced by Plaintiffs, their members, and thousands of other Floridians. Thus,

the balance of the equities favors issuing the TRO and Preliminary Injunction

plaintiffs seek.

      Finally, a TRO and Preliminary Injunction are in the public interest. In

general, “the public has a strong interest in exercising the fundamental political right

to vote. That interest is best served by favoring enfranchisement and ensuring that

qualified voters’ exercise of their right to vote is successful.” Obama for Am. v.

Husted, 697 F.3d 423, 436-437 (6th Cir. 2012) (citing Purcell v. Gonzalez, 549 U.S.

1 (2006)) (internal citations and quotations omitted). “The public interest therefore

favors permitting as many qualified voters to vote as possible.” Obama for Am., 697

F.3d at 437. With the polls closed, there is now no countervailing public interest in

allowing elections officials to conduct Election Day business while “voting is in

progress,” as this Court noted in denying the initial motion this morning. Order

Denying a Temporary Restraining Order at 3 (ECF No. 12). A TRO allowing the


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modest extension to the vote-by-mail deadline that Plaintiffs seek will allow as many

qualified Floridians to vote as possible and will advance the public interest.

                                  CONCLUSION

      For the foregoing reasons, this Court should enter a Temporary Restraining

Order awarding the requested relief.

Dated: March 17, 2020                  Respectfully submitted,
                                       By: /s/ Kira Romero-Craft
                                              Kira Romero-Craft

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                     CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Local Rule 7.1(F), I certify that,

according to the word count of the word processing system used to prepare this

document, the foregoing memorandum contains 2,872 words.

                                            /s/ Kira Romero-Craft
                                            Kira Romero-Craft




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